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DECLARATION OF MD RAYHAN

|, MD Rayhan (A# i), hereby declare under penalty of perjury pursuant to 28 U.S.C. §
1746 that the following is true and correct.

iP

| make this declaration based on my own personal knowledge and if called to testify | could
and would do so competently and truthfully to these matters.

My name is MD Rayhan. | am 27 years old and from Bangladesh. | came to the United States
in November 2024 to seek asylum due to threats | received for being a member of the Liberal
Democratic Party (LDP). | have been in immigration detention since entering the United
States, and am detained at Florence Correctional Center in Florence, Arizona.

On December 2, 2024, an Asylum Officer issued a negative determination in my case. On
December 16, 2024, an Immigration Judge reviewed the decision and affirmed the Asylum
Officer’s finding. | was not represented by counsel during my credible fear interview.

| heard that the U.S. government has started transferring people with final orders to the
military base at Guantanamo Bay, Cuba. | also heard the U.S. governmentis targeting
people they think are criminals or gang members, even if they have no proof.

| am afraid of being transferred to Guantanamo. | believe that | am at risk of being
transferred because | have a final order of deportation and am from Bangladesh.

| do not want to be transferred to or detained at Guantanamo. | am afraid of what will
happen to me when | get there. | heard that there is no ability to contact lawyers or family
from Guantanamo. | want access to an attorney to help me get out of detention and figure
out what options | have in my immigration case.

Everything in this declaration is true and correct to the best of my Knowledge and
recollection. This declaration was read back to me in Bengali, a language in which | am
fluent.

Executed on the 28th of February, 2025 in Florence, Arizona.

1 bd ROSHVeN

MD Rayhan
At
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ATTESTATION AND CERTIFICATE OF TRANSLATION

|, Philip Rody, certify that | read the above document titled “Declaration of MD Rayhan” from English
to Bengali using tive telephonic interpretation provided by Jennie Interpreters (interpreter ID

# 332430 ) on February 28, 2025. The interpreter affirmed that he/she is fluent in both English
and Bengali. Mr. Rayhan confirmed that he understood the interpreter and that, to the best of his

knowledge, the content of this declaration was correct before signing it.

| declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true and
correct.

BA 2
Philip Rody
Managing Attorney

The Florence Project

